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UNITED STATES DISTRICT COURT
OF THE SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
P.F.,                                                                        24-CV-02333 (PMH)
                                    Plaintiff/Petitioner,
                                                                            REQUEST FOR
                                                                            SIGNATURE OF
                                                                            EMERGENCY ORDER TO
                                                                            SHOW CAUSE
                  -against-


Y.F.,
                                    Defendant/Respondent,
--------------------------------------------------------------X
                                                                             Dated: August 25, 2024
To the Honorable Court,
       An Order to Show Cause was filed with the court and a date to serve the Respondent was
given for August 26, 2024. Said service has been completed by personal service and by
overnight service. Both Affidavits of Service have been filed on Pacer with the Honorable Court.
        I am respectfully requesting that the proposed Order to Show Cause be signed and a court
date be granted forthwith.
         The Honorable Court’s understanding is appreciated.
                                                                      Very truly yours,
                                                                      __________________
                                                                      Menachem White, Esq.
